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                Exhibit F
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Sum, Alice

From:                               Warren.Gluck@hklaw.com
Sent:                               Saturday, June 25, 2022 7:43 AM
To:                                 Sum, Alice
Cc:                                 Jessica.Magee@hklaw.com; Sydney.Alexander@hklaw.com
Subject:                            RE: SEC/SureTrader (Swiss America/MintBroker) and Gentile



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recognize the sender and know the content is safe.

Dear Alice:

We have communicated with the Joint Official Liquidators (“JOLs”) regarding this matter. First, the JOLs and the
Company do not object to the voluntary production of the documents and emails by Dorsett and Frantz to the SEC, and
the JOLs respectfully request copies of the same documentation for their files. Regarding the authority of Gentile, the
JOLs believe and understand that based upon the Bahamas Companies Legislation and their appointment by the
Bahamas Court as JOLs, Mr. Gentile has no further powers or rights in respect of the Company whatsoever, and in the
JOLs view would not have standing to object to the disclosure of Company documents at this time.


Warren Gluck | Holland & Knight
Partner
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________________________________________________
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From: Sum, Alice <SumAl@SEC.GOV>
Sent: Thursday, June 23, 2022 2:01 PM
To: Gluck, Warren E (NYC - X73396) <Warren.Gluck@hklaw.com>
Subject: SEC/SureTrader (Swiss America/MintBroker) and Gentile

[External email]
Dear Warren:

I am reaching out to you as counsel for the Joint Official Liquidators (JOLs) regarding their position on a discovery issue
that has come up in the Florida district court action. Two former employees of Swiss America/SureTrader/MintBroker
(Phillip Dorsett and Yaniv Frantz) have in their possession, custody, and control certain company documents and
emails. They have agreed to voluntarily produce these documents to the SEC. Defendant Guy Gentile has objected to
this production without the company’s consent.




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Because the JOLs have been appointed by the Bahamas court to wind up the company and authorized to exercise their
powers for the company, we request that the JOLs advise whether they object to this production. Additionally, please
advise the JOLs’ position regarding whether Gentile has authority to assert objections on behalf of the company.

Thank you.

Alice

                       Alice K. Sum
                       Trial Counsel
                       U.S. Securities and Exchange Commission
                       Division of Enforcement
                       Miami Regional Office
                       801 Brickell Avenue, Suite 1950
                       Miami, FL 33131
                       Office: 305.416.6293
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                       Email: SumAl@sec.gov




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preserve the attorney-client or work product privilege that may be available to protect confidentiality.




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